Case 2:21-cv-01102-DSF-MRW Document 207 Filed 01/22/24 Page 1 of 1 Page ID #:4134




                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA




      JEFFREY B. SEDLIK,                     No.: 2:21-cv-01102-DSF-MRW
          Plaintiff,

                        v.                   Rulings on Evidentiary Objections
                                             to Vanegas Deposition
      KATHERINE VON
      DRACHENBERG, et al.,
          Defendants.



                              Plaintiff’s Objections

         Plaintiff’s objections to the testimony at 30:21-31:7 and 55:13-56:6
      are sustained. All other objections are overruled.

                             Defendants’ Objections

         Defendants’ objections to the specified testimony from 31:15 through
      58:3 are sustained. All other objections are overruled.

         IT IS SO ORDERED.



      Date: January 22, 2024                ___________________________
                                            __________________
                                                             ____________
                                            Dale
                                            D  l SS. Fi
                                                     Fischer
                                                         h
                                            United States District Judge
